                                                                             Case 2:24-cr-00456-TJH     Document 35     Filed 02/03/25   Page 1 of 3 Page ID #:165



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                                                                               8                          UNITED STATES DISTRICT COURT
                                                                               9                        CENTRAL DISTRICT OF CALIFORNIA
                                                                              10
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                                                                              11   UNITED STATES OF AMERICA,                      Case No. 2:24-cr-00456-TJH
                                1990 South Bundy Drive, Suite 705




                                                                              12         v.
                                     Los Angeles, CA 90025




                                                                              13                                                  JOINT STIPULATION TO
                                                                                   ANDREW LEFT,                                   MODIFY PRETRIAL
                                                                              14                                                  CONDITIONS
                                                                                                              Defendant.
                                                                              15
                                                                              16         Crim. L.R. 57-1 provides that Civ. L.R. (“L.R.”) shall govern the conduct of
                                                                              17   criminal proceedings. L.R. 7-1 permits parties to jointly request an order affecting
                                                                              18   the progress of a case by stipulation.
                                                                              19         Pursuant to L.R. 7-1, the Parties stipulate, agree, and jointly request
                                                                              20   modification of Mr. Left’s bond to permit him to engage in certain financial
                                                                              21   transactions after providing prior notice to Pretrial Services. In support, the Parties
                                                                              22   stipulate and agree to the following:
                                                                              23         1.     The Indictment was filed on July 25, 2024. (ECF No. 1.)
                                                                              24         2.     On July 29, 2024, Mr. Left self-surrendered and appeared for
                                                                              25   arraignment where the Court ordered his release and set the conditions for his
                                                                              26   pretrial release. (ECF No. 9.)
                                                                              27         3.     Mr. Left posted bond, surrendered his passport, and has complied with
                                                                              28   all other conditions of release. (ECF Nos. 12, 13, 19.)
                                                                                                                             1
                                                                                                 STIPULATION TO MODIFY PRETRIAL CONDITIONS
                                                                             Case 2:24-cr-00456-TJH        Document 35     Filed 02/03/25    Page 2 of 3 Page ID #:166



                                                                               1             4.    Mr. Left now plans to acquire, renovate, and then sell a home.
                                                                               2             5.    Therefore, the Parties stipulate, agree, and jointly request an order
                                                                               3   deleting this condition as written, and replacing it with the following:
                                                                               4             Do not sell, transfer, or give away any asset valued at $100,000 or more
                                                                                             without notifying and obtaining permission from Pretrial, except tuition,
                                                                               5             child care, loans, tax payments, utilities, legal fees. Mr. Left may purchase,
                                                                                             sell, or renovate a house with only prior notice to Pretrial. Mr. Left is
                                                                               6             permitted to trade under his own name. Any sales, transfers, give aways
                                                                                             >$100k must be approved by the Court.
                                                                               7
                                                                               8             6.    All other conditions of pretrial release shall remain in full force and
                                                                               9   effect.
                                                                              10             For these reasons, the Parties respectfully request modification of Mr. Left’s
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                                                                              11   bond as set forth above.
                                1990 South Bundy Drive, Suite 705




                                                                              12
                                     Los Angeles, CA 90025




                                                                                   Dated: February 3, 2025                     Respectfully submitted,
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                                                                                                                               SPERTUS, LANDES & JOSEPHS, LLP
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                                                                                                                               By:
                                                                              16
                                                                                                                                     James W. Spertus
                                                                              17                                                     Lindsey Hay
                                                                                                                                     Mario Hoang Nguyen
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                                                                              19
                                                                              20
                                                                              21
                                                                                   JOSEPH T. MCNALLY                           GLENN S. LEON
                                                                              22   Acting U.S. Attorney                        Chief, Fraud Section
                                                                                   Central District of California
                                                                              23
                                                                              24                                               By: /s/Matthew Reilly (w/ permission)
                                                                                   Alexander Schwab                                Lauren Archer
                                                                              25
                                                                                   Brett Sagel                                     Matthew Reilly
                                                                              26   Assistant United States Attorneys               Trial Attorneys
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                                                                                                    STIPULATION TO MODIFY PRETRIAL CONDITIONS
                                                                             Case 2:24-cr-00456-TJH    Document 35   Filed 02/03/25   Page 3 of 3 Page ID #:167



                                                                               1                               Certificate of Compliance
                                                                               2         The undersigned, counsel for Defendant Andrew Left, certifies this
                                                                               3   memorandum of points and authorities contains 270 words, which complies with
                                                                               4   the word limit of L.R. 11-6.1.
                                                                               5         Dated: February 3, 2025
                                                                               6                                              __________________________
                                                                                                                              James W. Spertus
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                                                                                                STIPULATION TO MODIFY PRETRIAL CONDITIONS
